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                    EXHIBIT 20
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                                                                      Page 1

1       UNITED STATES BANKRUPTCY COURT
2       DISTRICT OF DELAWARE
3
4
5       In re:                        :
                                      :           Chapter 11
6       ENERGY FUTURE HOLDINGS        :
        CORP., et al.,                :           Case No. 14-10979(CSS)
7                                     :
                  Debtors.            :           (Jointly Administration
8       _________________________     :           Requested)
        CSC TRUST COMPANY OF DELAWARE,:
9       as INDENTURE TRUSTEE and      :
        COLLATERAL TRUSTEE,           :
10                                    :
                  Plaintiff,          :
11                                    :
             v.                       :             Adv. Proc. No. 14-50410
12                                    :             (CSS)
        COMPUTERSHARE TRUST COMPANY, :
13      N.A., COMPUTERSHARE TRUST     :
        COMPANY OF CANADA, EPIQ       :
14      BANKRUPTCY SOLUTIONS, LLC,    :
        EPIQ SYSTEMS, INC., EPIQ      :
15      SYSTEMS ACQUISITIONS, INC.,   :
        THE DEPOSITORY TRUST COMPANY, :
16      and CEDE & CO.,               :
                                      :
17                Defendants.         :
        ______________________________:
18
19
20                                     United States Bankruptcy Court
21                                     824 North Market Street
22                                     Wilmington, Delaware
23
24                                     September 16, 2014
25                                     11:11 AM - 1:41 PM

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1                   Now, there may be some interrelationships between

2       those, but that's entirely our point.           Those things need to

3       be explored when we know what the transaction is.

4                   Thank you, Your Honor.

5                   THE COURT:   You're welcome.        I'm going to overrule

6       the objection and grant the extension of exclusivity.            I

7       think review of the relevant factors easily support an

8       extension of exclusivity.      I think that the now five months

9       to file a plan, approximately seven to solicit, is an

10      appropriate time frame, this is an extremely complex case,

11      there's a lot of things that are moving, dynamics have

12      changed, and even though there appears to be a path forward

13      for perhaps a quicker disposition of some assets of the

14      estate, the -- of the debtors' estates -- excuse me -- the

15      group of the debtors as a whole has a long way to go in

16      order to get to a plan of reorganization that is hopefully

17      confirmable whether on a global basis or in pieces.            I mean

18      that's one of the I'm sure very intense negotiations that'll

19      occur over the next months to try to figure out exactly what

20      an exit strategy for this debtor is.

21                  I think that just a two month or three month even

22      extension of exclusivity won't accomplish anything, we're

23      going to be right back here having the same argument and

24      you're going to get the same ruling, provided things

25      continue to move.

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1                   I don't think the EFIH transaction in and of

2       itself should determine when exclusivity will or won't be

3       extended, it's one piece of a broader case.

4                   I do believe that while there are significant

5       amounts of money that are at issue in connection with the

6       objectors, you can't deny the fact that a larger amount of

7       money has already been paid, and that while I understand

8       there may be technical issues -- and they're not technical

9       -- legal issues with regard to how the bid occurs and

10      whether or not that will make what everybody says is an

11      oversecured claim maybe not an oversecured claim, I think

12      that's something that we can deal with when it arises, and I

13      think it really makes the case for exclusivity because we

14      won't know exactly what the process is, and that's okay,

15      because part of the whole point of exclusivity is to allow

16      the debtors to figure out what the process is going to be

17      and not commit them at an overly early stage to a plan that

18      isn't going to work or a process that might not ultimately

19      work.

20                  I think Mr. Shore and others would say they did

21      that nine months ago and that's part of what a lot of the

22      fights were in connection with the RSA.         That's dead and

23      gone and we don't need to worry about it, other than the

24      context that I think that the debtors should be given a

25      reasonable opportunity to move forward from that and figure

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